 8:09-cr-00003-JFB-MDN            Doc # 69   Filed: 04/22/09   Page 1 of 1 - Page ID # 184




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                    8:09CR3
                                              )
              v.                              )
                                              )
ANTONIO FRAUSTO,                              )                    ORDER
                                              )
                     Defendants.              )
                                              )


       Before the court is the Request for Transcript by a Non-Party, Filing No. 68.
After considering the matter,

       IT IS ORDERED:

       1.     The Request for Transcript (Filing No. 68) is granted, as outlined below.

       2.   The non-party petitioner must contact court reporter Allan Kuhlman at
(402) 661-7305 to make arrangements for the preparation and payment of the
transcript.

        3.     The Clerk’s Office is ordered to mail a copy of this order to the non-party
petitioner at the address listed in Filing No. 68.

       DATED this 22nd day of April, 2009.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             Chief United States District Judge
